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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


ANDREW SMITH, ANDREW LAPORTE,
JASON LOWE, CRAIG POTTER, and
THOMAS SPRADER, individually and on
behalf of a class of similarly situated enrolled
persons, JOHN MAHER and ELIZABETH
SPAFFORD, individually and on behalf of a
class of similarly situated graduates, and
DAVID AYOTTE, MICHAEL CHUNN,                       Case No. 2:10-CV-11490
JASON COLTER, LORNE COUCH,
ALEX FERGUSON, JAMES FRANS,                        Hon. Victoria Roberts
AMY GAMBLE, JAMES MARSHALL,
DENNIS PARKER, DAVID RHEAD,                        Magistrate Judge R. Steven Whalen
ALDIN SABANOVSKI, BRUCE VANG,
MEHMED VOJNIKOVIC, NATHAN
WADDELL, and SENAD ZUKIC, individually,

              Plaintiffs,

vs.

COMPUTERTRAINING.COM INC,
COMPUTERTRAINING.EDU, LLC
(f/k/a COMPUTERTRAINING.COM, LLC),
 CTCI CORP and SALLIE MAE, INC.,

           Defendants,
_____________________________________________________________________

ORDER GRANTING DEFENDANT SALLIE MAE’S MOTION TO DISMISS OR, IN THE
              ALTERNATIVE, TO COMPEL ARBITRATION

I. INTRODUCTION

       On September 8, 2010, Defendant Sallie Mae filed a Motion to Dismiss Plaintiffs’

Complaint as to Sallie Mae, or in the alternative, to stay proceedings before this Court,

and compel Plaintiffs to submit their claims to arbitration. (Doc. #33). Oral argument

was heard on January 6, 2011.
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        For reasons explained below, the Court finds:

1.      Utah law governs the initial inquiry: whether the parties agreed to arbitrate.

2.      Plaintiffs fail to show that the ComputerTraining Defendants’ default on

allegations of unconscionability can be imputed to Sallie Mae through the FTC Holder

Rule.

3.      Plaintiffs fail to properly plead that the Class Action Waiver, or the Arbitration

Agreement as a whole, are unconscionable, by not raising the issue until their

Response to this Motion.

4.      Any dispute involving the validity, enforceability or scope of the Arbitration

Agreements has been delegated to the arbitration process.

5.      The unavailability of the arbitration forum designated in the Arbitration

Agreement does not preclude arbitration in the alternate forum designated in the

Arbitration Agreement, given the plain meaning of the Arbitration Agreement terms.

6.      Plaintiffs assert no statutory claims, so the Court need not, and cannot, consider

Congress’s intent that any claims should be nonarbitrable.

7.      Even if the Plaintiffs' claims under the FTC Holder Rule could be considered

federal statutory claims for the purpose of this analysis, there is no indication that the

FTC intended claims brought under the FTC Holder Rule to be nonarbitrable.

8.      All claims between Plaintiffs and Sallie Mae must be dismissed and submitted for

arbitration.

        The Court GRANTS Defendant’s Motion to Dismiss.




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II. BACKGROUND

       Plaintiffs filed this action in April 2010, against Defendants

ComputerTraining.com, Inc., ComputerTraining.edu, LLC (f/k/a ComputerTraining.com,

LLC) and CTCI Corp. (ComputerTraining Defendants), after the abrupt closing of the

ComputerTraining schools on December 31, 2009. (Doc. #1). Defaults were entered

against all of the ComputerTraining Defendants in May 2010, for failure to appear and

defend. (Doc. #18-20). Plaintiffs added Sallie Mae as a defendant in August 2010

through the Second Amended Class Action Complaint and Jury Demand. (Doc. #26).

       Plaintiffs entered into Enrollment Agreements with the ComputerTraining

Defendants. (Doc. #21, Ex. 4). Sallie Mae was not a party to those Agreements.

       Plaintiffs are students who were enrolled in the ComputerTraining Defendants’

schools when they closed, or are graduates of the schools. This Court certified two

classes of Plaintiffs for the determination of damages between the ComputerTraining

Defendants and Plaintiffs.

       Generally, Plaintiffs seek a refund of their tuition and compensation for ongoing

career placement services. Plaintiffs assert eleven counts against the

ComputerTraining Defendants based on (1) negligence, (2) breach of fiduciary duty, (3)

negligent misrepresentation, (4) innocent misrepresentation, (5) promissory estoppel,

(6) unjust enrichment/breach of quasi-contract, (7) equitable estoppel, (8) breach of

contract, (9) fraud, (10) civil conspiracy, and (11) concert of action. The Court has not

certified a class in Plaintiffs’ claims against Defendant Sallie Mae.

       Plaintiffs bring all eleven of these counts against Sallie Mae through the Federal

Trade Commission Holder Rule (FTC Holder Rule) Notice in certain Educational Loan

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Program Promissory Notes (Promissory Notes). (Doc. #33, Ex. A-2). The Promissory

Notes are the only written agreements directly between Plaintiffs and Sallie Mae. The

ComputerTraining Defendants are not parties to the Promissory Notes. Under these

Promissory Notes, Sallie Mae provided some of the Plaintiffs, and allegedly thousands

of other ComputerTraining students, with loans to fund their education at the

ComputerTraining schools.

       Where a consumer takes out a loan to purchase goods or services, the FTC

Holder Rule Notice must be incorporated into the loan contract. 16 C.F.R. § 433.2. The

FTC Holder Rule Notice allows consumers to assert any claims or defenses against the

creditor that they have against the seller. For purposes here, since Plaintiffs have

claims against the ComputerTraining Defendants (seller), the conduit through which

Sallie Mae (creditor) made loans to Plaintiffs, the FTC Holder Rule Notice in the

Promissory Notes is the vehicle through which Plaintiffs can bring the same claims they

have against the ComputerTraining Defendants, against Sallie Mae.

       This motion concerns only those Plaintiffs, or those in the classes they seek to

represent, who entered into Promissory Notes with Sallie Mae. It is alleged that named

Plaintiffs Andrew Smith, Andrew LaPorte, Jason Lowe, John Maher, Elizabeth Spafford,

David Ayotte, Michael Chunn, Jason Colter, Alex Ferguson, Jason Frans, Amy Gamble,

James Marshall, Dennis Parker, Aldin Sabanovski, Bruce Vang, Mehmed Vejnikovic,

Nathan Waddell, and Senad Zukic signed such Promissory Notes.

       Defendant Sallie Mae moves to dismiss all claims against it for lack of subject

matter jurisdiction under Rule 12(b)(1). Fed. R. Civ. P. 12(b)(1). Sallie Mae argues that

this Court does not have jurisdiction over any of the claims between it and Plaintiffs,

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because the parties agreed to arbitrate all claims. Sallie Mae claims this is true despite

the FTC Holder Rule.

       The Promissory Notes between Plaintiffs and Sallie Mae contain an Arbitration

Agreement (“Arbitration Agreement”). (Doc. #33, Ex. A-2, §XVII). Sallie Mae claims that

the current dispute falls within the scope of the Arbitration Agreement. Defendant

argues that Utah state contract law governs the Promissory Notes and the Arbitration

Agreement language, and that no grounds exist for revoking the Arbitration Agreement

under Utah law.

       Sallie Mae argues also, that even if the Court is not convinced that the claims fall

within the Arbitration Agreement, the parties contracted to have an arbitrator make that

decision. Defendant says that when all of the issues raised in a district court must be

submitted to arbitration, the case should be dismissed. If the Court declines to dismiss

the case, Sallie Mae requests that it compel Plaintiffs to arbitrate, and to stay

proceedings pending arbitration.

       Plaintiffs argue that Michigan law applies, rather than Utah law. They claim that

under Michigan law, the Class Action and Multi-Party Waiver (Class Action Waiver) in

the Arbitration Agreement is unconscionable, which renders the entire Agreement

invalid. Plaintiffs also claim that it would be unconscionable for the Court to enforce the

Arbitration Agreement because the forum designated in the Arbitration Agreement is no

longer available. They argue that the unavailability of the forum under the terms of the

Arbitration Agreement, precludes arbitration in any other forum.

       Plaintiffs also say that Sallie Mae essentially defaulted on any unconscionability

arguments. Plaintiffs argued in the Second Amended Complaint that the arbitration

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clause in the Enrollment Agreements (between Plaintiffs and ComputerTraining

Defendants) was unconscionable. (Doc. #26, ¶¶ 109-113). Since the ComputerTraining

Defendants defaulted, Plaintiffs make the leap and argue that their allegation that the

arbitration clause in the Enrollment Agreements is unconscionable, should be deemed

true. Plaintiffs further argue that the ComputerTraining Defendants’ default on the issue

of unconscionability should be imputed to Sallie Mae via the FTC Holder Rule.

       Defendant Sallie Mae says in its Reply (Doc. #38) that the FTC Holder Rule does

not apply to a procedural default. Sallie Mae contends that class action waivers in

consumer credit agreements are explicitly enforceable under Utah law. Sallie Mae also

argues that the unavailability of the designated forum does not preclude arbitration

altogether. Sallie Mae claims that a number of provisions in the Arbitration Agreement

demonstrate an overriding intent to arbitrate, even if the first choice is not available.

III. STANDARD OF REVIEW

       Congress enacted the Federal Arbitration Act (the FAA), 9 U.S.C. § 1 et seq., “to

place arbitration agreements upon the same footing as other contracts.” Gilmer v.

Interstate/Johnson Lane Corp., 500 U.S. 20, 24 (1991). The FAA expresses a strong

public policy favoring arbitration in a broad range of disputes, and provides that

agreements to arbitrate “shall be valid, irrevocable, and enforceable, save upon such

grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2.

Thus arbitration clauses “may be invalidated by generally applicable contract defenses,

such as fraud, duress, or unconscionability.” Rent-A-Center, West, Inc., v. Jackson,

130 S.Ct. 2772, 2777 (2010) (internal quotations and additional citations omitted). But,



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if a claim is governed by a valid arbitration agreement, a court must compel arbitration.

9 U.S.C. §§ 3-4.

       Federal law creates “a general presumption of arbitrability, and any doubts are to

be resolved in favor of arbitration ‘unless it may be said with positive assurance that the

arbitration clause is not susceptible of an interpretation that covers the asserted

dispute.’” Highlands Wellmont Health Network, Inc., v. John Deere Health Plan, Inc.,

350 F.3d 568, 576-77 (6th Cir.2003) (quoting AT & T Technologies, Inc., v.

Communications Workers of America, 475 U.S. 643, 650 (1986)). “If parties contract to

resolve their disputes in arbitration rather than in the courts, a party may not renege on

that contract absent the most extreme circumstances.” Stout v. Byrider, 228 F.3d 709,

715 (6th Cir. 2000).

       Although “ambiguities in the language of the agreement should be resolved in

favor of arbitration, we do not override the clear intent of the parties, or reach a result

inconsistent with the plain text of the contract, simply because the strong policy favoring

arbitrations is implicated.” EEOC v. Waffle House, Inc., 534 U.S. 279, 293-94 (2002)

(quotations and citations omitted). Arbitration clauses are governed by the consent and

intentions of the parties:

       Underscoring the consensual nature of private dispute resolution, we have
       held that parties are generally free to structure their arbitration agreements
       as they see fit. For example, we have held that parties may agree to limit
       the issues they choose to arbitrate…We also think it is clear from our
       precedents and the contractual nature of arbitration that parties may
       specify with whom they choose to arbitrate their disputes.

Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 130 S.Ct. 1758, 1774 (2010).




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      The Sixth Circuit articulated four tasks for a court considering a motion to compel

arbitration under the FAA:

      [F]irst, it must determine whether the parties agreed to arbitrate; second, it
      must determine the scope of the agreement; third, if federal statutory
      claims are asserted, it must consider whether Congress intended those
      claims to be nonarbitrable; and fourth, if the court concludes that some,
      but not all, of the claims in the action are subject to arbitration, it must
      determine whether to stay the remainder of the proceedings pending
      arbitration.

Stout, 228 F.3d at 714-15.

Federal courts apply state law to determine whether contract defenses may invalidate

arbitration agreements. See, e.g., Doctor’s Association, Inc., v. Casarotto, 517 U.S.

681, 687 (1996). However, questions concerning the interpretation and construction of

arbitration agreements are governed by federal substantive law. See, e.g., Moses H.

Cone Memorial Hospital v. Mercury Construction Corp., 460 U.S. 1, 25 (1983). The

party opposing arbitration has the burden to show that the agreement is not

enforceable. Green Tree Financial Corp.- Alabama v. Randolph, 531 U.S. 79, 91-92

(2000).

IV. APPLICABLE LAW AND ANALYSIS

      A. The Parties Agreed to Arbitrate

             1. Choice of Law

      To determine which state’s law governs the Arbitration Agreement in the

Promissory Notes, the inquiry begins with Michigan's choice of law rules. See, e.g.,

Ruffin-Steinback v. dePasse, 267 F.3d 457, 463 (6th Cir. 2001) (stating that in a

diversity case, a federal court should apply the choice of law rules for the state in

which it sits) (citations omitted). Under Michigan law, a contractual choice of law
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provision is presumed valid unless “the chosen state has no substantial

relationship to the parties or the transaction,” or the chosen state's law “would

be contrary to a fundamental policy of a state which has a materially greater

interest than the chosen state.” Chrysler Corp. v. Skyline Industrial Services, Inc.,

448 Mich. 113, 126 (1995) (citations omitted).

       The Promissory Notes between Plaintiffs and Sallie Mae contain a choice of law

provision:

       Governing Law: Venue - I understand that the Lender is located in the
       state identified on my Disclosure and that this Note will be entered into in
       that state. Consequently, the provisions of this Note will be governed by
       applicable federal laws and the laws of that state to the extent not
       preempted, without regard to conflict of law rules.

Doc. #33, Ex. A-2, §XIV, ¶2 [bold and underlined type in original].

The second sentence in each Truth in Lending Disclosure for each of the relevant

Plaintiffs reads: “Lender refers to SALLIE MAE BANK, located in the state of UT.” (Doc.

#38, Ex. A, Att. 1 at 1). Thus the parties contracted to have Utah law govern the

Promissory Notes. Utah has a “substantial relationship” to Defendant Sallie Mae, as

Sallie Mae is located in Utah. Chrysler Corp., 488 Mich. at 126. Utah also has a

“substantial relationship” to the transaction; the Promissory Notes were entered into in

Utah. Id.

       Plaintiffs claim that nothing indicates that Utah law would govern. They contend

that the Promissory Note “mentions no fewer than sixteen different states and makes

clear that the relationship depends upon the state where the borrower resides.” (Doc.

#35 at 16, fn. 13). Plaintiffs cite to Section XI of the Promissory Notes, which appears to

provide additional terms for default under state laws for residents of six different states.

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 (Doc. #33, Ex. A-2, §XI). Plaintiffs also point to a State Notices section in the

 Promissory Notes, which includes notices required for residents of certain states under

 the laws of those states. (Doc. #33, Ex. A-2, § XII, ¶ 9). The State Notices section

 prefaces these notices with the following explanation:

        State Notices – I understand that the following notices are required by or
        necessary under state law and that these notices may not describe all of
        the rights that I have under state and federal law. Unless otherwise
        indicated, each notice applies to borrowers and cosigners who live in the
        indicated state on the date that they signed the application and to
        borrowers and cosigners who are residents of that state.

 Id. [bold and underlined type in original].

 Plaintiffs do not cite to any authority or provide any compelling reason why the Court

 should expand the plain meaning of these provisions to hold that the entire Promissory

 Note is governed by the law of the state in which each debtor resides, or by Michigan

 law. Plaintiffs also do not cite to any authority or provide any reason that compels the

 Court to ignore the plain meaning of the Governing Law provision.

        Plaintiffs do not address Michigan choice of law rules or cite to any Michigan

 cases on the choice of law issue. Instead, Plaintiffs claim that “the application of Utah

 law was recently rejected in nearly identical circumstances by the Third Circuit in G.R.

 Homa v. American Express Co., 558 F.3d 225 (3rd Cir. 2009).” (Doc. #35 at 16, fn. 13).

 In G.R. Homa, the Third Circuit declined to apply Utah law after conducting a New

 Jersey choice of law analysis, admittedly similar to Michigan’s. However, the Third

 Circuit relied on a specific New Jersey Supreme Court case in “predict[ing] that the

 Supreme Court of New Jersey would find that the class-action waiver at issue violates

 the fundamental public policy of New Jersey.” Id. at 228.


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        Plaintiffs do not cite to any authority showing that Michigan has a fundamental

 policy against class-action waivers. If anything, Michigan has a strong public policy

 favoring arbitration. See, e.g., Rembert v. Ryan’s Family Steakhouses, Inc., 235

 Mich.App. 118, 123 (Mich.App. 1999) (describing the Michigan Arbitration Act, M.C.L. §

 600.5001 et seq., as “a strong and unequivocal legislative expression of Michigan’s

 proarbitration public policy”).

        Plaintiffs also argue that the choice of law is irrelevant “because Utah, like

 Michigan, recognizes that arbitration clauses can be found unconscionable,” citing to

 Powell v. Cannon, 179 P.3d 799 (Utah 1999). This is simply untrue. In Powell, the

 Supreme Court of Utah found that it lacked jurisdiction over the appeal, and never

 reached the substantive issues raised by the parties. Id.

        Plaintiffs fail to argue or show that Utah does not have a substantial relationship

 to the parties or the transactions. They also fail to argue or show that Michigan has a

 materially greater interest in the action, or that Utah law violates a fundamental policy

 interest of Michigan, such that Utah law should not apply.

        The Court finds no reason to override the Governing Law provision; Utah law

 governs the Promissory Notes.

               2. Unconscionability and the FTC Holder Rule

        Plaintiffs argue that this Court, not an arbitrator, must hear their claim that the

 Class Action Waiver in the Arbitration Agreement is unconscionable. (Doc. #35 at 8).

 They cite to a provision in the Arbitration Agreement which stipulates that “‘Claim’ does

 not include any challenge to the validity and effect of the Class Action and Multi-



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 Party Waivers, which must be decided by a court.” (Doc. #33, Ex. A-2, §XVII, ¶ 4

 [defining “Claims” that either party may elect to arbitrate; bold type in original]).

        Plaintiffs contend that the entire Arbitration Agreement will be void if the Class

 Action Waiver is found to be invalid:

        1(T)he entire Arbitration Agreement (other than this sentence) shall be null
        and void with respect to any Claim asserted on a class, representative or
        multi-party basis if the Class Action and Multi-Party Waivers are held to be
        invalid.

 Doc. #33, Ex. A-2, §XVII, ¶10 [Survival, Severability, Primacy].

 The Class Action Waivers are as follows:

        IMPORTANT WAIVERS: If you or I elect to arbitrate a Claim, you and I
        both waive the right to: (1) have a court or a jury decide the Claim; (2)
        PARTICIPATE IN A CLASS ACTION IN COURT OR IN ARBITRATION,
        WHETHER AS A CLASS REPRESENTATIVE, CLASS MEMBER OR
        OTHERWISE; (3) ACT AS A PRIVATE ATTORNEY GENERAL IN
        COURT OR IN ARBITRATION; OR (4) JOIN OR CONSOLIDATE
        CLAIM(S) WITH CLAIMS INVOLVING ANY OTHER PERSON IN COURT
        OR IN ARBITRATION. Other rights are more limited in arbitration
        than in court or are not available in arbitration. The waivers in
        subsections (2)-(4) above are called the “Class Action and Multi-
        Party Waivers.” The arbitrator shall have no authority to conduct any
        arbitration inconsistent with the Class Action and Multi-Party
        Waivers.

 Id. ¶ 2 [capitalization and bold type in original].

        Plaintiffs say in their Response, that this Class Action Waiver is unconscionable,

 but they did not raise this argument in their complaint. This raises the issue of whether

 Plaintiffs properly pled unconscionability. The Second Amended Complaint does claim

 that an arbitration clause in a separate contract, the Enrollment Agreements (Doc. #21,

 Ex. 4), is unconscionable, but Sallie Mae is not a party to those Agreements. This is




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 where Plaintiffs make their argument that the ComputerTraining Defendants’ default is

 imputed to Sallie Mae.

        The arbitration clause in the Enrollment Agreements reads:

        ARBITRATION OF DISPUTES: Any dispute, controversy or claim
        (“Claim”) that in any way arises out of or relates to this Enrollment
        Agreement, or the breach thereof, shall be submitted to binding arbitration
        before the American Arbitration Association, pursuant to its Commercial
        Arbitration Rules. The arbitration shall be conducted before a panel of
        three impartial arbitrators. The place of arbitration shall be Baltimore,
        Maryland. Any judgment on the award rendered by the arbitration panel
        may be entered in any court having jurisdiction thereof.

        A Claim may be brought by you only as an individual and on an individual
        basis. No Claim may be brought by you as a class representative, nor
        may you participate as a member of a class of claimants with respect to
        any Claim. THE RESULT OF THIS ARBITRATION PROVISION IS THAT
        NO CLAIMS MAY BE LITIGATED IN COURT, INCLUDING THOSE
        CLAIMS THAT, BUT FOR THIS ARBITRATION PROVISION, MIGHT
        HAVE BEEN TRIABLE BEFORE A JURY, AS CLASS ACTIONS, AS
        PRIVATE ATTORNEY GENERAL ACTIONS, OR OTHERWISE. IN
        ADDITION, ANY CLAIMS MUST BE ARBITRATED THROUGH AN
        INDIVIDUAL ARBITRATION ONLY AND MAY NOT BE PART OF A
        CLASS ACTION ARIBITRATION.

        Notwithstanding anything in the foregoing to the contrary, the losing party
        shall pay the prevailing party’s costs and reasonable attorney’s fees
        incurred in connection or associated with the litigation of a Claim
        hereunder. Students are advised to keep all documents regarding
        enrollment and financial obligations.

 Doc. #21, Ex. 4 at 3 [capitalization and bold type in original; format altered for clarity].

 In the Second Amended Complaint, Plaintiffs claim that the “Baltimore-only arbitration

 clause is unconscionable and unenforceable,” and that the class action waiver in the

 Enrollment Agreement is also unconscionable and unenforceable. (Doc. #26, ¶¶ 109-

 113). Plaintiffs say that since the ComputerTraining Defendants failed to appear and




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 defend, they defaulted on all claims, including Plaintiffs’ allegations of unconscionability,

 and the unconscionability argument is deemed true.

        Plaintiffs contend that the effect of the FTC Holder Rule is that their allegation

 that the Class Action Waiver in the Promissory Notes is unconscionable, should also be

 deemed true. In other words, Plaintiffs claim that the ComputerTraining Defendants’

 default on allegations of unconscionability, can be imputed to Sallie Mae through the

 FTC Holder Rule. Plaintiffs contend that this is true despite the fact that Sallie Mae is

 not a party to the Enrollment Agreements. Plaintiffs also contend that this is true

 despite the fact that the arbitration provisions at issue contain different terms, are in

 different contracts, and involve different parties.

        The FTC Holder Rule requires that consumer credit contracts contain the

 following notice:

        ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT
        TO ALL CLAIMS AND DEFENSES WHICH THE DEBTOR COULD
        ASSERT AGAINST THE SELLER OF GOODS OR SERVICES
        OBTAINED WITH THE PROCEEDS HEREOF. RECOVERY
        HEREUNDER BY THE DEBTOR SHALL NOT EXCEED AMOUNTS
        PAID BY THE DEBTOR HEREUNDER.

 Doc. #33, Ex. A-2, §XIII [capitalization and bold type in original]; see also 16 C.F.R. §
 433.2.

 The Federal Trade Commission (“the FTC”) enacted the FTC Holder Rule to address

 the situation in which a consumer purchase is made with credit from a third party, so

 “the obligation to pay for goods or services is not conditioned upon the seller’s

 corresponding duty to keep his promises.” 41 Fed.Reg. 20022 [Guidelines of Trade

 Regulation Rule Concerning Preservation of Consumers’ Claims and Defenses] (1976).

 For example, if a consumer takes out a loan to buy a car and it turns out to be a lemon,

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 the consumer must still pay back the loan. The FTC said that this requirement means

 the debtor would be “robbed of the only realistic leverage he possessed that might have

 forced the seller to provide satisfaction – his power to withhold payment.” Id. Thus, the

 FTC Holder Rule was specifically designed to “protect the consumer’s right to assert

 against the creditor any legally sufficient claim or defense against the seller. The

 creditor stands in the shoes of the seller.” Id. at 20024. The FTC Holder Rule was

 intended to transfer the cost of seller misconduct, which would normally fall on a buyer

 or debtor, to the creditor. Id. The logic is that creditors are in a better position to assess

 the legitimacy of a seller, and to externalize the costs of seller misconduct. Id.

                      a. Plaintiffs misinterpret the FTC Holder Rule

        Plaintiff relies on Lozada v. Dale Baker Oldsmobile, Inc., for their position that

 under the FTC Holder Rule, Sallie Mae stands in the shoes of the ComputerTraining

 Defendants in their default on unconscionability arguments. See Lozada v. Dale Baker

 Oldsmobile, Inc., 91 F.Supp.2d 1087 (W.D. Mich. 2000); (Doc. #35 at 15). As the Court

 has established, however, Utah law, not Michigan law, governs the Promissory Notes.

        Even if Michigan law and Lozada applied, both the sellers and the assignee of

 the loan in that case were active parties to the suit. Lozada, 91 F.Supp. at 1087. The

 Lozada court simply held that the plaintiffs could use the FTC Holder Rule to bring

 affirmative claims against the assignee of their contracts for violations of the Truth in

 Lending Act (TILA) and various Michigan consumer protection laws, for damages less

 than recission. Id. Lozada then held that the class action waiver was unconscionable

 for reasons unrelated to the FTC Holder Rule. Id.



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        Plaintiffs cite no authority to support their interpretation of the FTC Holder Rule.

 Plaintiffs fail to cite any authority suggesting that the FTC Holder Rule could put Sallie

 Mae in the shoes of the ComputerTraining Defendants, such that Sallie Mae defaulted

 on the unconscionability arguments Plaintiffs raised in the Second Amended Complaint

 against the ComputerTraining Defendants only.

                      b. Plaintiffs failed to properly plead unconscionability

        Plaintiffs failed to properly plead that the Class Action Waiver in the Promissory

 Notes is unconscionable; they did not raise the argument until their response to this

 motion. Even if they had raised the issue appropriately, class action waivers are

 expressly allowed in consumer credit agreements under Utah law. Utah Code Ann. §

 70C-3-104 (1953) (stating that a consumer contract may include “a waiver by the debtor

 of the right to initiate or participate in a class action related to the closed-end consumer

 contract”). Even if Plaintiffs had raised the issue appropriately, and even if Michigan law

 and Lozada applied, Plaintiffs have not proved the criteria for finding procedural and

 substantive unconscionability as set out in Lozada. Lozada, 91 F.Supp. at 1100-1106.

 The Plaintiffs make a number of other arguments regarding unconscionability, all of

 which the Court either does not reach or finds that they lack merit.

        B. Scope of the Arbitration Agreement

               1. Arbitrability has been delegated to arbitration

        Plaintiffs dispute the validity of the Arbitration Agreement in its entirety for a

 variety of reasons. However, Defendant argues that any dispute regarding the validity

 of the Arbitration Agreement must be determined in arbitration, not by this Court. The



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 Arbitration Agreement defines what a “Claim” is, that “either party may elect to arbitrate

 – and require the other party to arbitrate”:

        “CLAIM” means any legal claims, dispute or controversy between you and
        me that arises from or relates in any way to this Note… This includes,
        without limitation, disputes concerning the validity, enforceability,
        arbitrability or scope of this Arbitration Agreement or this Note.

 Doc. #33, Ex. A-2, § XVII, ¶ 4.

 Sallie Mae cites the recent Supreme Court case Rent-a-Center, West, Inc., v. Jackson,

 which held that the only way arbitrability can be decided by a court when it has been

 delegated to arbitration, is if the delegation clause itself is specifically challenged. Rent-

 A-Center, West, Inc., v. Jackson, 130 S.Ct. 2772 (2010).

        In Rent-a-Center, the plaintiff argued that his claim should not be submitted to

 arbitration, even on the issue of arbitrability, because the arbitration agreement was

 both substantively and procedurally unconscionable under state law. Id. The Supreme

 Court said that it “need not consider that claim because none of Jackson’s substantive

 unconscionability challenges was specific to the delegation provision.” Id. at 2780.

 They held that unless the plaintiff “challenged the delegation provision specifically, we

 must treat it as valid under §2 [of the Federal Arbitration Act], and must enforce it under

 §§ 3 and 4, leaving any challenge to the validity of the Agreement as a whole for the

 arbitrator.” Id. at 2779.

        Plaintiffs have not challenged the validity of the delegation clause. Thus, the

 determination of the “validity, enforceability, arbitrability or scope of this Arbitration

 Agreement,” must be decided in arbitration. (Doc. #33, Ex. A-2, § XVII, ¶ 4).

                2. The unavailability of NAF does not preclude arbitration


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        Plaintiffs say this dispute cannot be submitted to arbitration because the forum

 selection clause cannot be enforced. They claim that the forum selection clause is one

 of the “terms and conditions” that must be met before either party can enforce the

 Arbitration Agreement. (Doc. #33, Ex. A-2, § XVII). Plaintiffs argue that the forum

 selection clause cannot be enforced because the National Arbitration Forum (“NAF”) is

 the selected forum, and NAF no longer arbitrates disputes of this nature. (Doc. #35 at

 9). NAF was recently involved in litigation, the result of which was a consent decree

 prohibiting it from arbitrating consumer disputes. (Doc. #35, Ex. 2).

        The Arbitration Agreement in the Promissory Notes sets out a process by which

 the Administrator, or forum, is selected:

        1The National Arbitration Forum will be the Administrator unless:
        (a) [Sallie Mae] or [Plaintiff] agree otherwise;
        (b) [Plaintiff] [is] the Claimant and [Plaintiff] initiate[s] an arbitration before
        the American Arbitration Association; or
        (c) [Plaintiff] assert[s] a Claim in court, [Sallie Mae] elect[s] to arbitrate the
        Claim and [Plaintiff] give[s] [Sallie Mae] written notice that [Plaintiff] [is]
        selecting the American Arbitration Association as Administrator within 20
        days thereafter (or, if [Plaintiff] dispute[s] [Sallie Mae’s] right to require
        arbitration of [Plaintiff’s] Claim, [Plaintiff] select[s] the American Arbitration
        Association as Administrator within 20 days after that dispute is finally
        resolved).

 Doc. #33, Ex. A-2, § XVII, ¶ 3 [format altered for clarity].

 It is undisputed that only Plaintiffs would normally have the power to choose NAF; they

 have not done so. It is also undisputed that NAF is not an available Administrator, and

 that none of the conditions have been fulfilled under which the American Arbitration

 Association (“AAA”) would be selected.

        Defendant Sallie Mae argues that the Arbitration Agreement can still be enforced

 and that the parties should arbitrate under AAA. (Doc. #33 at 1-4). Sallie Mae notes

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 that the Arbitration Agreement contains a severability clause to ensure that the

 impossibility of any of its terms or conditions does not endanger the validity of the rest of

 the Agreement. The severability clause in the Arbitration Agreement says: “1[i]f any

 portion of this Arbitration Agreement cannot be enforced, the rest of the Arbitration

 Agreement will continue to apply.” (Doc. #33, Ex. A-2, § XVII, ¶ 10 [Survival,

 Severability, Primacy]). The Promissory Note contains another severability clause,

 outside of the Arbitration Agreement, in Section XIV:

        Severability: If any provision of this Note is held invalid or unenforceable,
        that provision shall be considered omitted from this Note without affecting
        the validity or enforceability of the remainder of this Note.

 Doc. #33, Ex. A-2, §XIV [Additional Agreements], ¶ 5 [underlined type in original].

 Defendant argues that the forum selection clause can simply be severed and the rest of

 the Arbitration Agreement will remain enforceable.

        Sallie Mae contends that the definition of “Administrator” also demonstrates an

 overriding intent to arbitrate:

         “Administrator” means, as applicable, the American Arbitration
        Association… or the National Arbitration Forum… provided that the
        Administrator must not have in place a formal or informal policy that is
        inconsistent with and purports to override the terms of this Arbitration
        Agreement.

 Doc. #33, Ex. A-2, § XVII, ¶ 3.

 Sallie Mae argues that the consent decree has caused NAF to “have in place a formal

 or informal policy that is inconsistent with and purports to override the terms of this

 Arbitration Agreement.” Id. It also claims that this definition demonstrates that the

 selection of AAA or NAF is subordinate to the parties’ overriding intent to arbitrate.



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        Plaintiffs contend that when a selected forum cannot arbitrate a claim, a court

 cannot enforce the arbitration agreement. They rely largely on Walker v. Ryan’s Family

 Steakhouse and Roney & Company v. Goren, both of which involve arbitration

 agreements that designated an exclusive forum. See Walker v. Ryan’s Family

 Steakhouse, 400 F.3d 370 (6th Cir. 2005); and Roney & Company v. Goren, 875 F.2d

 1218 (6th Cir. 1989). Plaintiffs characterize Walker as “refusing to order plaintiffs to

 arbitration or rewrite the arbitration clause where the selected arbitrator could not give

 Plaintiffs an effective hearing.” (Doc. #35 at 12). In Walker the court refused to enforce

 the arbitration agreement for a number of reasons, including that there was only one

 forum indicated and it was clearly biased towards one of the parties. See Walker, 400

 F.3d at 385-386. Likewise, the arbitration agreement in Rooney named an exclusive

 forum, so the court held that the plaintiff waived her right to be heard in any other forum.

 See Rooney, F.2d at 1223.

        Plaintiffs cite numerous other cases in which one or more specific fora were

 indicated, and courts refused to compel arbitration in a forum not indicated in the

 arbitration agreement, or the court refused to redraft the agreement. (Doc. #35 at 12-

 14). Here, two forums are named, one of which is still available. This Arbitration

 Agreement also contains a severability clause, making rewriting it unnecessary.

        Plaintiff says too, that AAA would not be able to hear this dispute because of its

 current moratorium on debt collection arbitrations. (Doc. #35 at 13, fn. 11). AAA

 instituted this moratorium to assess the adequacy of its current procedures in protecting

 the rights of consumers in debt collections initiated by creditors. Arbitration or Arbitrary:

 The Misuse of Mandatory Arbitration to Collect Consumer Debts, Hearing Before the

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 Subcomm. on Domestic Policy of the H. Comm. on Oversight and Government Reform,

 11th Cong. (2009) (statement of Richard W. Naimark, Senior Vice President of AAA),

 available at http://www.adr.org/si.asp?id=5770 (last visited Feb. 9, 2011). For example,

 one of the central problems AAA wants to remedy is that very few consumers appear or

 participate in the arbitration process, which makes it difficult to protect their rights. Id at

 5.

        According to AAA’s website, the moratorium covers:

        Consumer debt collections programs or bulk filings and individual case
        filings in which the company is the filing party and the consumer has not
        agreed to arbitrate at the time of the dispute and the case involves a credit
        card bill or, the case involves a telecom bill or the case involves a
        consumer finance matter.

        The AAA will continue to administer all demands for arbitration filed by
        consumers against businesses, and all other types of consumer
        arbitrations.

 Notice on Consumer Debt Collection Arbitrations, http://www.adr.org/sp.asp?id=36427
 (last visited Feb. 9, 2011).

 This case is not covered by the moratorium. It does not involve a consumer debt

 collection, telecom bill, or consumer finance matter. Instead, this case constitutes a

 claim which would be filed by consumers against a business, which AAA’s website

 explicitly says that it will hear. Id. Plaintiffs can demand arbitration before AAA.

       For these reasons, the Court finds that it would not be improper to compel

 arbitration with AAA.

        C. No statutory conflict

       The third step in considering a motion to compel arbitration is applicable when

 federal statutory claims are asserted. Stout v. Byrider, 228 F.3d 709, 714-715 (6th Cir.


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 2000). The Court is to consider whether Congress intended those claims to be

 nonarbitrable. Id.

       Plaintiffs misleadingly argue that the Arbitration Agreement “would violate the FTC

 Holder Rule and the Federal Trade Commission Act.” (Doc. #35 at 18). They fail to

 explain how the Arbitration Agreement could violate the Federal Trade Commission Act

 (“the FTCA”), which is the statute creating the FTC and defining its powers. See 15

 U.S.C. § 41 et seq. No federal statutory claims are asserted here. Plaintiffs assert

 state contract law claims against Sallie Mae through the FTC Holder Rule. (Doc. #26).

 The FTC Holder Rule is a federal regulation promulgated by the Federal Trade

 Commission, not a statute enacted by Congress. 16 C.F.R. § 433.2. Thus the third task

 in the Stout analysis is not implicated. Stout, 228 F.3d at 714-715. Even if the FTC

 Holder Rule could be considered a statute for these purposes, Plaintiff has not argued

 or otherwise shown that the FTC intended claims brought via the FTC Holder Rule to be

 nonarbitrable.

        D. All claims against Sallie Mae should be submitted to arbitration

        “[I]f the court concludes that some, but not all, of the claims in the action are

 subject to arbitration, it must determine whether to stay the remainder of the

 proceedings pending arbitration.” Stout, 228 F.3d at 714-715. Defendants note that

 “(t)he weight of authority clearly supports dismissal of the case when all of the issues

 raised in the district court must be submitted to arbitration.” Green v. Ameritech Corp.,

 200 F.3d 967, 973 (6th Cir. 2000) (citations omitted).




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         Neither party argues that the Plaintiffs’ claims against the ComputerTraining

 Defendants should be stayed pending the arbitration of the claims against Sallie Mae,

 and the Court finds no reason to stay proceedings pending arbitration between Plaintiffs

 and Sallie Mae, or to exclude any claims against Sallie Mae from arbitration.

 IV. CONCLUSION

         Defendant Sallie Mae’s Motion to Dismiss is GRANTED.

         Plaintiffs may file any claims against Sallie Mae individually with the American

 Arbitration Association.

         IT IS ORDERED.


                                                       /s/ Victoria A. Roberts
                                                     Victoria A. Roberts
                                                     United States District Judge

 Dated: February 18, 2011

  The undersigned certifies that a copy of this
  document was served on the attorneys of record
  by electronic means or U.S. Mail on February 18,
  2011.

  s/Linda Vertriest
  Deputy Clerk




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